       Case 2:13-cv-03197-ER Document 80 Filed 09/23/22 Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KEVIN F. JOHNSON,                      :
                                       :     CIVIL ACTION
     Petitioner,                       :     NO. 13-03197
                                       :
          v.                           :
                                       :
JOHN W. KERESTES, et al.,              :
                                       :
     Respondents.                      :


                                  ORDER

          AND NOW, this 23rd day of September, 2022, following a

hearing on the record, it is hereby ORDERED that counsel for

Petitioner and Respondent shall submit briefing in accordance

with the Court’s instructions to supplement the Compromise and

Settlement Agreement for Habeas Relief [ECF No. 77] by October

11, 2022. The Agreement has been taken under advisement. 1



          AND IT IS SO ORDERED.



                                  _______________________
                                  EDUARDO C. ROBRENO, J.




1 The Court will inform the parties if the Attorney General is
joined as amicus curiae.
